        Case 1:15-cr-00179-LJO-SKO Document 37 Filed 02/12/16 Page 1 of 4


 1   MOSS LAW GROUP
     Richard A. Moss, SBN 42329
 2
      E-Mail: rmoss@rmosslaw.com
 3   William C. Fleming, Jr., SBN 208176
      E-Mail: wfleming@rmosslaw.com
 4
     Jerry B. Marshak, State Bar No. 202214
 5    E-Mail: jmarshak@rmosslaw.com
     255 South Marengo Avenue
 6   Pasadena, California 91101-2719
 7   Telephone: (626) 796-7400
     Telecopier: (626) 796-7789
 8

 9
     Attorneys for Defendant,
     BAHAR GHARIB-DANESH, D.C.
10

11
                              UNITED STATES DISTRICT COURT
12                           EASTERN DISTRICT OF CALIFORNIA
13
     UNITED STATES OF AMERICA,                 Case No. 1:15-cr-00179-LJO-SKO
14
                        Plaintiff,             STIPULATION TO CONTINUE
15
                                               SECOND STATUS CONFERENCE
16         vs.                                 AND REGARDING EXCLUDABLE
                                               TIME PERIODS UNDER SPEEDY
17   BAHAR GHARIB-DANESH, D.C.                 TRIAL ACT; FINDINGS AND ORDER
18   aka BAHAR GHARIB
     aka BAHAR DANESH
19   aka BAHAR DANESH-GHARIB
20
     aka BAHAR DANESH GHARIB
     NA YOUNG EOH, D.C.
21   and JOHN THOMAS TERRENCE,                 Date: February 16, 2016
           PsyD, Ph.D.,                        Time: 1:00 p.m.
22
                                               Ctrm: 3
23                      Defendants.
24

25         TO THE ABOVE-CAPTIONED COURT AND TO ALL PARTIES AND THEIR

26
     ATTORNEYS OF RECORD:

27
                                              ***

28


                                               1
        Case 1:15-cr-00179-LJO-SKO Document 37 Filed 02/12/16 Page 2 of 4


 1                                           STIPULATION
 2          Plaintiff UNITED STATES OF AMERICA, by and through its counsel of record, and
 3   Defendants BAHAR GHARIB-DANESH, NA YOUNG EOH, and JOHN THOMAS
 4   TERRENCE (hereafter referred to collectively as “Defendants”), by and through their
 5   counsel of record, hereby stipulate as follows:

 6          1.     All parties appeared before the Honorable Sheila K. Oberto on August 17, 2015

 7   for a First Status Conference. At that time, a Second Status Conference was scheduled for

 8
     November 30, 2015, at 1:00 p.m., before the Honorable Sheila K. Oberto. The parties

 9
     stipulated to continue this Second Status Conference to February 16, 2016, and the Court
     signed the Order. The parties now move to continue this Second Status Conference to April
10
     4, 2016 at 1:00 p.m.
11
            2.     By this stipulation, Defendants now move to continue the Second Status
12
     Conference until April 4, 2016, at 1:00 p.m., and to exclude time between August 17, 2015
13
     and April 4, 2016, under 18 U.S.C. § 3161(h)(7)(A), (B)(iv).
14
            3.     The parties agree and stipulate, and request that the Court find the following:
15
                   (a)      The government has produced approximately 88,000 pages of written
16
     discovery.
17
                   (b)      Counsel for Defendants desire additional time to prepare for the Second
18
     Status Conference, including time to further review discovery furnished by the government.
19
                   (c)      Counsel for Defendants believe that failure to grant the above-requested
20
     continuance would deny their clients the reasonable time necessary for effective preparation,
21
     taking into account the exercise of due diligence.
22
                   (d)      There is no objection to the continuance.
23
                   (e)      Based on the above stated findings, the ends of justice served by
24
     continuing the case as requested outweigh the interest of the public and the defendants in a
25   trial within the original date prescribed by the Speedy Trial Act.
26                 (f)      For purposes of computing time under the Speedy Trial Act, 18 U.S.C. §
27   3161, et seq., within which trial must commence, the time period of August 17, 2015 to April
28   4, 2016, inclusive, is deemed excludable pursuant to 18 U.S.C. § 3161(h)(7)(A), (B)(iv)

                                                       2
        Case 1:15-cr-00179-LJO-SKO Document 37 Filed 02/12/16 Page 3 of 4


 1   because it results from a continuance granted by the Court at defendant’s request on the basis
 2   of the Court’s finding that the ends of justice served by taking such action outweigh the best
 3   interest of the public and the defendants in a speedy trial.
 4          4.     Nothing in this stipulation and order shall preclude a finding that other
 5   provisions of the Speedy Trial Act dictate that additional time periods are excludable from the

 6   period within which a trial must commence.

 7          IT IS SO STIPULATED.

 8

 9
     Dated: February 10, 2016            BENJAMIN B. WAGNER
                                         United States Attorney
10

11
                                         By:      /s/ Mark J. McKeon
12                                              Mark J. McKeon
                                                Assistant United States Attorney
13

14   Dated: February 10, 2016            MOSS LAW GROUP
15

16                                       By:       /s/ Richard A. Moss
                                                Richard A. Moss, Esq.
17                                              Attorney for Defendant,
18
                                                Bahar Gharib-Danesh, D.C.

19   Dated: February 10, 2016            DACHENG LAW OFFICES LLP
20

21                                       By:       /s/ Leodis C. Matthews
                                                Leodis C. Matthews, Esq.
22
                                                Attorney for Defendant,
23                                              John Thomas Terrence, PsyD, Ph.D.
24
     Dated: February 10, 2016            OFFICE OF THE FEDERAL PUBLIC DEFENDER
25

26                                       By:        /s/ Jerome Price, Jr.
27                                              Jerome Price, Jr., Esq.
                                                Attorney for Defendant,
28                                              Na Yong Eoh, D.C.

                                                      3
        Case 1:15-cr-00179-LJO-SKO Document 37 Filed 02/12/16 Page 4 of 4


 1                                      ORDER
 2

 3   IT IS SO ORDERED.

 4   Dated:   February 12, 2016                    /s/ Sheila K. Oberto
 5
                                           UNITED STATES MAGISTRATE JUDGE

 6

 7

 8

 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28


                                            4
